Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 1 of 37

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BANKERS CONSECO LIFE INSURANCE
COMPANY, 350 Jericho Turnpike, #304,

Jericho, NY 11753 Civil Action No.

WASHINGTON NATIONAL INSURANCE
COMPANY, 11825 North Pennsylvania
Street, Carmel, IN 46032

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)
and
BEECHWOOD RE LTD, P.O. Box 1363,
Building 3, 23 Lime Tree Bay Avenue, )
Governors Square, Grand Cayman KY1-1108 )
)

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Petitioners,
V.

EGAN-JONES RATINGS COMPANY, 61
Haverford Station Road, Haverford, PA 19041

Respondent.

PETITION TO ENFORCE ARBITRATION SUMMONSES

Petitioners Bankers Conseco Life Insurance Company, Washington National Insurance
Company and Beechwood Re Ltd (collectively, “Petitioners”), allege as follows against the
Respondent Egan-Jones Ratings Company (“Respondent”):

PARTIES

1. Petitioner Bankers Conseco Life Insurance Company (“BCLIC”) is a New York

corporation engaged in the insurance business with a principal place of business located in

Jericho, New York.
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2. Petitioner Washington National Insurance Company (“WNIC”) is an Indiana
corporation engaged in the insurance business with a principal place of business located in
Carmel, Indiana.

3. Petitioner Beechwood Re Ltd (“Beechwood”) is a life and annuity reinsurer
incorporated in the Cayman Islands with its principal place of business located in New York,
New York.

4. Upon information and belief, Respondent Egan-Jones Ratings Company is a
Pennsylvania company with a principal place of business located in Haverford, Pennsylvania.

JURISDICTION AND VENUE

oF This is a proceeding to enforce arbitration summonses arising under Section 7 of
the Federal Arbitration Act, 9 U.S.C. § 7.

6. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1332 because the parties are citizens of different states and the amount in controversy exceeds
the sum or value of $75,000, exclusive of interest and costs.

fi. Venue is proper in this judicial district pursuant to 9 U.S.C. § 7 because the
hearing took place before a majority of the arbitrators sitting in this district.

PETITION TO ENFORCE ARBITRATION SUMMONSES

8. This proceeding arises from an arbitration between Petitioners BCLIC and WNIC
and Petitioner Beechwood (the “Arbitration”).

9. On May 3, 2018, the three-member panel in the Arbitration (the “Panel’’)
executed and issued Petitioners’ Arbitration Summonses (Exhibits 1 and 2), requesting the
appearance of Lafiisa Gao of Egan-Jones at 61 Haverford Station Road, Haverford,

Pennsylvania 19041, to attend as a witness at a hearing before the Panel on May 30, 2018 (the
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“May 30 Hearing”), located within twenty miles of Egan-Jones’ address, to provide testimony
and to bring with her the documents identified in the Schedule As annexed to each of Petitioners’
Arbitration Summonses.

10. On May 3, 2018, BCLIC and WNIC personally served their Arbitration Summons
upon Larissa Gao of Egan-Jones at 61 Haverford Station Road, Haverford, Pennsylvania
19041. (Exhibit 3.)

11. On May 4, 2018, Beechwood personally served its Arbitration Summons upon
Larissa Gao of Egan-Jones at 61 Haverford Station Road, Haverford, Pennsylvania
19041. (Exhibit 4.)

12. On May 30, 2018, Petitioners and the full Panel convened at the offices of
McElroy, Deutsch, Mulvaney & Carpenter, LLP located at 1 Penn Center — Suburban Station,
1617 JFK Boulevard, Suite 1500, Philadelphia, Pennsylvania for the May 30 Hearing in order to
take the testimony of Larissa Gao and obtain her documentary evidence in accordance with
Petitioners’ Arbitration Summonses.

13. Neither Larissa Gao nor any other representative of Egan-Jones appeared at the
May 30 Hearing.

14. The Panel and Petitioners were prepared to receive testimony and documentary
evidence from Egan-Jones pursuant to Petitioners’ Arbitration Summonses, and the Panel was
prepared to rule on evidentiary issues.

15. In addition, Petitioners hired a court reporter to record the May 30 Hearing so that
the May 30 Hearing would become part of the arbitration record for the Panel to use in its

ultimate determination of this dispute.
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16. Egan-Jones was provided with sufficient notice in anticipation of the May 30
Hearing, as evidenced by the Affidavits of the Process Servers. (Exhibits 3 and 4.)

17. Petitioners’ Arbitration Summonses comply with Federal Rule of Civil Procedure
45.

18. The Panel unanimously affirmed that the Arbitration Summonses should be
enforced by a Court of appropriate jurisdiction.

19. On June 22, 2018, the Panel granted Petitioners leave to pursue judicial
intervention to obtain Egan-Jones’ compliance with the Petitioners’ Arbitration Summonses.

(Exhibit 5.)

WHEREFORE, Petitioners Bankers Conseco Life Insurance Company, Washington
National Insurance Company and Beechwood Re Ltd respectfully request that this Court enter an
Order:

A. Compelling compliance pursuant to 9 U.S.C. § 7 with Petitioners’ Arbitration
Summonses dated May 3, 2018.

B. Grant such other and further relief as may be appropriate.
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 5 of 37

DATED: August 15, 2018

os

Ardmore, PA 19003
Phone: 484-413-2319
jm@vintage-law.com

Steven T. Whitmer (Pro Hac Vice Application
Forthcoming)

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Forthcoming)

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By: s/ Kyle Vellutato (w/ permission)

Kyle Vellutato

Joseph L. Buckley (Pro Hac Vice Application
Forthcoming)

Richard H. Epstein (Pro Hac Vice Application
Forthcoming)

SILLS CUMMIS & GROSS

One Riverfront Plaza

Newark, New Jersey 07102

(973) 643-7000

Attorneys for Petitioners Bankers Conseco Life
Insurance Company and Washington National
Insurance Company
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EXHIBIT 1
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THE ARBITRATION TRIBUNALS OF THE
AMERICAN ARBITRATION ASSOCIATION

In the matter of the Arbitration between )
)
BANKERS CONSECO LIFE INSURANCE ) Case No. 01-16-0004-2510
COMPANY and WASHINGTON )
NATIONAL INSURANCE COMPANY, )
)
Claimants/Counterclaim- ) ARBITRATION SUMMONS TO
Respondents, ) TESTIFY AND PRESENT
) DOCUMENTARY EVIDENCE AT AN
V. ) ARBITRATION HEARING
)
BEECHWOOD RE LIMITED, )
)
Respondent/Counterclaimant. )

TO: Larissa Gao, Egan-Jones Ratings Company, 61 Haverford Station Road, Haverford,
Pennsylvania 19041:

By the authority conferred on the Arbitration Panel by Section 7 of the Federal Arbitration
Act (9 U.S.C. § 7), you are hereby SUMMONED to attend as a witness at an arbitration hearing
before one or more of the undersigned arbitrators, to be held on May 30, 2018 at 3 P.M., at the
offices of McElroy, Deutsch, Mulvaney & Carpenter, LLP, 1 Penn Center — Suburban Station, 1617
JFK Boulevard, Suite 1500, Philadelphia, PA 19103, and to bring with you to the hearing the
documents identified in Schedule A annexed to this SUMMONS.

Provided that the SUMMONS has been served upon you in the same manner as is required
of a judicial subpoena under Rule 45 of the Federal Rules of Civil Procedure, then if you shall
refuse or neglect to obey this SUMMONS, upon petition to the United States District Courts for the
Eastern District of Pennsylvania or a competent court in the District of New Jersey or the
Commonwealth of Pennsylvania, the court may compel your attendance or punish you for contempt
in the same manner provided by law for securing the attendance of witnesses or their punishment
for neglect or refusal to attend in the courts of the United States.

You may address questions concerning this SUMMONS to the attorneys identified below.
Any application by you to quash or modify this SUMMONS in whole or in part should be addressed
to the arbitral tribunal in writing, with copies to counsel for the parties, except that a motion upon
the ground that the SUMMONS is unenforceable under Section 7 of the Federal Arbitration Act
may also be addressed to the United States District Court for the Eastern District of Pennsylvania or
a competent court in the District of New Jersey or the Commonwealth of Pennsylvania.

Sioned: _\ wun, \ . Wall

On behalf of a(fnanimous Panel:
Debra JY Hall, Chair
Susan S. Claflin
Caleb Fowler

Arbitrators
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Requested by:

Adam J. Kaiser Joseph L. Buckley

John M. Aerni Richard H. Epstein
ALSTON & BIRD LLP SILLS CUMMIS & GROSS
90 Park Avenue One Riverfront Plaza

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adam.kaiser@alston.com jbuckley@sillscummis.com
john.aerni@alston.com repstein@sillscummis.com

Attorneys for Claimants

Dated: May. , 2018
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Federal Rule of Civil Procedure 45 (d) and (e)

(d) Protecting a Person Subject to a Subpoena;
Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A
party or attarney responsible for issuing and serving a
subpoena must take reasonable steps to avoid imposing
undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate
sanctian—which may include lost earnings and reasonable
atlorney’s fees—on a party or attorney who fails to comply.

(2) Comunand to Produce Materiais or Permit Inspection.

(A) Appearance Not Required. A person commanded to
produce documents, electronically stored information, or
tangible things, or to permit the inspection of premises, need
not appear in person al the place of production or inspection
unless also commanded to appear for a deposition, hearing,
or trial.

(B) Objections. A person commanded to produce
documents or tangible things or to permit inspection may
serve on the party or attorney designated in the subpoena a
written objection to inspecting, copying, testing, or sampling
any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or
forms requested, The abjection must be served before the
earlier of the time specified for compliance or 14 days after
the subpoeni is served, If an objection is made, the following
rules apply:

(i) Al any (ime, on notice to the cammanded person,
the serving party may move the court for the district where
compliance is required for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the
order, and the order must protect a person who is neither a
party nor a party’s officer from significant expense resulting
from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the
district where compliance is required must quash or
madity a subpoena that:

(1) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the
geographical limits specified in Rule 45(c);

(iii) requires disclosure of privileged or other
protected matter, if no exception or waiver applies; or

(iv) subjecis a person to undue burden.

(B) When Permitted. To protect a person subject to or
affected by a subpoena, the court for the district where
compliance is required may, on motion, quash or modify
the subpoena if it requires:

(i) disclosing a trade secret or other
confidential research, development, ar
commercial information; or

(ii) disclosing an unretained expert’s
opinion or information that does not describe
specifie ovcurrences in dispute and results from
the expert’s study that was not requested by a
party.

(C) Specifying Conditions as an Alternative. In the
circumstances described in Rule 45(d)(3)(B), the court may,
instead of quashing or modifying a subpoena, order
appearance or production under specified conditions if the
serving party:

@) shows a substantial need for the testimony or
material that cannot be otherwise met without undue hardship;
and

(ii) ensures that the subpoenaed person will be
reasonably compensated,

(e) Duties in Responding to a Subpoena.

(1) Produciug Documents ar Etectranicatly Stored
Information, These procedures apply to producing
documents or electronically stored information:

(A) Documents. A person responding to a subpoena to
produce documents must produce them as they are kept in the
ordinary course of business or must organize and label them to
correspond to the categories in the demand,

(B) Forni for Producing Electronically Stored Information
Not Specified. If a subpoena does not specify a form for
producing electronically stored information, the person
responding must produce it in a form or forms in which it is
ordinarily maintained or in a reasonably usable form ar forms.

(C) Electronically Stored Information Produced in Only
One Form, The person responding need not produce the
same electronically stored information in more than one
form.

(D) Inaccessible Electronicatty Stored Information. The
person yesponding need nol provide discovery of electronically
stored information from sources that the person identifies as
not reasonably accessible because of undue burden or cost. On
motian to compel discovery or for a protective order, the
person responding noust show that the informatian is not
reasonably accessible because of undue burden or cost. If that
showing is made, the court may nonetheless order discovery
from such sources if the requesting party shows good cause,
considering the limitations of Rule 26(4)(2)(C). The court may
specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(li) describe the nature of the withheld documents,
communications, or tangible things in a manner that,
without revealing information itself privileged or

protected, will enable the parties to assess the claim.

(B) /nfermation Produced. If information produced in
response to a subpoena is subject to a claim of privilege or of
protection as trial-preparation material, the person making the
claim may notify any party that reccived the information of
the claim and the basis for it. After being notified, a party
must promptly return, sequester, or destroy the specified
information and any copies it has; must not use ar disclose the
information until the claim is resolved; must take reasonable
steps to retrieve the information if the party disclosed it before
being notified; and may promptly present the information
under seal to the court for the district where compliance is
required for a determination of the claim. The person who
produced the information must preserve the infarmation until
the claim is resolved.
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SCHEDULE A

DEFINITIONS

1. The terms “Affiliate” or “Affiliates” mean any person or entity that directly, or
indirectly through one or more intermediaries, controls or is controlled by, or is under common
control with, the first person or entity specified. When the term “Affiliate” is used in these
discovery demands, it includes, in the case of an entity, not only the entity but also that entity’s
present and former agents, employees, representatives, investigators, attorneys, and/or any
individuals acting on that entity’s behalf.

os The term “Beechwood” refers to Beechwood Re Limited and any of its Affiliates,
including but not limited to, BAM Administrative Services LLC, BAM Management Services
LLC, B Asset Holdings LLC, B Asset Manager GP LLC, B Asset Manager LP, B Asset Manager
Il GP LLC, B Asset Manager I LP, Beechwood Asset Management Trust I, Beechwood Capital
Group LLC, Beechwood Global Distribution Trust, Beechwood Global Distributors LLC,
Beechwood Bermuda Ltd., Beechwood Bermuda International Ltd., Beechwood Bermuda
International (Middle East) Ltd., Beechwood Bermuda Investment Holdings Ltd., Beechwood Re
Holdings Inc., Beechwood Re Investments LLC, Beechwood Re Investors LLC, Beechwood Re
Ltd., B Investments LLC, BRK Holdings GP Ltd., BRK Holdings Ltd., Old Mutual (Bermuda)
Ltd, a/k/a Beechwood Omnia Ltd. FTL Holdings LLC, N Management LLC, MF Energy
Holdings LLC, MSD Administrative Services LLC, Shoreline Gold Inc., Tevere Capital LP,
Tevere Capital Management LLC, Tevere Holdings LLC and Tevere Management LP.

2, The term “Black Elk” means Black Elk Energy Offshore Operations, LLC and
any of its Affiliates,

4, The term “Claimants” means Bankers Conseco Life Insurance Company and/or

Washington National Insurance Company and any of their Affiliates.
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5s The term “Communication” means the transmittal of information (in the form of
facts, ideas, inquiries or otherwise).

6, The term “concerning” means concerning, referring to, relating to, describing,
evidencing, or constituting.

i. The term “Document” is defined to be synonymous in meaning and equal in
scope to the usage of the term “documents or electronically stored information” in Fed. R. Civ.
P, 34(a)(1)(A). A draft or non-identical copy is a separate Document within the meaning of this
term.

8, The term “Duff & Phelps” means Duff & Phelps Corporation, Duff & Phelps,
LLC and any of their Affiliates.

9, The term “Egan Jones” means Egan-Jones Rating Company and any of its
Affiliates,

10. ‘The term “Eli Global” means Eli Global LLC, Global Bankers Insurance Group,
and any of their Affiliates.

11. The term “Emst & Young” means Ernst & Young LLP and any of its Affiliates.

12. The term “Investment” includes, but is not limited to, a transaction involving the
exchange of money, securities, equity, and/or debt, on the one hand, for other money, securities,
equity, and/or debt, on the other hand.

13. The term “KPMG” means KPMG LLP and any of its Affiliates.

14, The term “Lincoln Partners” means Lincoln International LLC, Lincoln Partners
Advisors LLC and any of their Affiliates.

15. The term “Milliman” means Milliman, Inc. and any of its Affiliates.
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16. The term “Person” is defined as any natural person or any legal entity, including,
without limitation, any business or governmental entity or association,

17. The term “Platinum” refers to Platinum Partners, L.P. and any of its Affiliates,
including but not limited to Platinum Credit Management, L.P., Platinum Partners Credit
Opportunities Master Fund L.P., Platinum Partners Credit Opportunities Fund (TE) LLC,
Platinum Partners Credit Opportunities Fund LLC, Platinum Partners Credit Opportunity Fund
(BL) LLC, Platinum Partners Credit Opportunities Fund International Ltd, Platinum Partners
Credit Opportunities Fund International (A) Ltd, Platinum Credit Management LLC, Platinum
Credit Holdings LLC, Platinum Liquid Opportunity Management (NY) LLC, Platinum Partners
Liquid Opportunity Fund (USA) L.P., Platinum Liquid Opportunity GP LLC, Platinum Partners
Liquid Opportunity Fund (International) Ltd., Platinum Partners Liquid Opportunity
Intermediate Fund L.P., Platinum Partners Liquid Opportunity Master Fund L.P., and Platinum
Management (NY) LLC.

18. The term “Reinsurance Agreements” refers to: (1) a certain New York Indemnity
Reinsurance Agreement (along with any exhibits, schedules, and other Documents annexed to it)
by and between Bankers Conseco Life Insurance Company and Beechwood Re Limited,
executed on or around February 10, 2014; and (2) a certain Indemnity Reinsurance Agreement
(along with the exhibits, schedules, and other Documents annexed to it) by and between
Washington National Insurance Company and Beechwood Re Limited, executed on or around
February 10, 2014.

19, The term “Reinsurance Trusts” means the trusts established under the

Reinsurance Agreements and Trust Agreements.
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20. The term “Trust Agreements” means the trust agreements annexed to the
Reinsurance Agreements.

21. The term “Willis Towers Watson” means Willis Towers Watson & Co., Towers
Watson Pennsylvania, Inc., Willis Re Inc., and any of their Affiliates.

22. ‘The term “Wilmington Trust” means Wilmington Trust, National Association and

any of its Affiliates,

23, The terms “You” and “Your” mean Egan Jones,
INSTRUCTIONS
Ll. In this subpoena, including the Documents to be Produced and the definitions and

instructions below, the use of the singular form of a word includes the plural and vice versa, and
the use of the word “any” should be construed to also mean “all” and vice versa.

2 This subpoena calls for the production of all Documents and Communications in
Your possession, custody or control. This includes, but is not limited to, all Documents subject
to Your control that are stored in physical locations, or on any electronic device or computer,
including, but not limited to, servers, hard drives, thumb drives, and similar devices, laptops,
tablets, or smartphones, and includes any Documents and Communications stored with cloud
technology which is in Your possession, custody, or control.

3, If You object, in whole or in part, to any category of Documents to be produced
(or any definition or instruction) in this subpoena and do not produce all responsive Documents,
(a) state with specificity all grounds for, and the facts upon which You base, each such objection
and/or refusal to produce, and (b) identify and produce those Documents requested to which You
do not object.

4, Please produce responsive Documents to the extent that You do not claim a
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privilege. If You object to any Documents requested on grounds of privilege, please fully set
forth Your claim of privilege in response to this subpoena, For any responsive Documents
withheld, please provide at the date and time set forth in this subpoena a summary conforming to
the requirements of Fed. R. Civ, P. 45(e)(2) that describes the nature of each of the Documents,
Communications or other tangible things not produced or disclosed.

5. Unless otherwise specified, these requests seek Documents for the period January
1, 2012 through the date of this subpoena.

DOCUMENTS TO BE PRODUCED

1. All Documents and Communications concerning Beechwood, including but not
limited to (a) any agreements with Beechwood, including negotiations concerning any actual or
proposed agreements with Beechwood, (b) any reports, valuations or ratings concerning
Beechwood or Reinsurance Trust assets or Investments, including any reports, valuations, ratings
or other Documents or Communications Beechwood provided to You, (c) any financial
statements, business plans, business projections or audits concerning Beechwood, (d)
compensation, bonuses, fees, or any other form of payment You received concerning Beechwood
or that Beechwood received concerning the Reinsurance Agreements, Trust Agreements or
Claimants, (ce) any Documents You provided to Beechwood, (f) any Investments Beechwood
made or proposed to make with assets of the Reimsurance Trusts, or (g) any direct or indirect
ownership interest that any Person has or had in Beechwood, including but not limited to the
debt or capital structure of Beechwood, and including any beneficial ownership that any Person
has or had in any of the Beechwood Trusts numbered | through 20 or any Series lettered A

through I of Beechwood Re Investments LLC.
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2, All Documents and Communications concerning the Reinsurance Agreements,
Trust Agreements, Reinsurance Trusts or any asset or Investment of the Reinsurance Trusts,
including but not limited to (a) any acquisition, deposit, valuation, rating, management,
withdrawal, transfer, disposition or the compliance with law, regulation or any agreement of any
asset or Investment of the Reinsurance Trusts, (b) any Investment of any asset in the Reinsurance
Trusts with Platinum or any Person in which Platinum has or had any ownership interest or
Investment, (c) any valuation or rating of any asset or Investment in the Reinsurance Trusts by
You, Lincoln Partners, or Duff & Phelps, or (d) any services performed concerning the
Reinsurance Agreements, Trust Agreements, Reinsurance Trusts or any asset or Investment of
the Reinsurance Trusts by You, Milliman, Ernst & Young, KPMG, Willis Towers Watson, or
Wilmington Trust.

3, All Documents and Communications concerning Mark Nordlicht, Murray
Huberfeld, David Bodner, Moshe (Mark) Feuer, Scott Taylor, Dhruv Narain, David Levy, Daniel
Small, Danny Saks, David Ottensoser, Paul Poteat, Will Slota, David Leff, Ezra Beren, Stewart
Kim, Rick Hodgdon, Eli Rakower, Naftali Manela, or Black Blk.

4. All Documents and Communications between or among You and Platinum.

5. All Documents and Communications concerning any subpoena from or inquiry,
investigation, examination, action or audit of any government agency, regulator, or entity,
including but not limited to (a) the United States Securities and Exchange Commission, (b) the
United States Department of Justice, (c) the New York State Department of Financial Services,
(d) the Indiana Department of Insurance, (e) the Cayman Islands Monetary Authority, or (f) the

Bermuda Monetary Authority, concerning Beechwood or Platinum, including but not limited to
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any Documents or Communications You produced to, and any agreement, including search
terms, You made or negotiated with, any government agency, regulator or entity,

6. All Documents and Communications concerning any actual or potential purchase
or sale of any interest in Beechwood, including but not limited to any purchase or sale
concerning Eli Global LLC, and any payments made to, by or on behalf of Beechwood

concerning such purchase or sale.
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EXHIBIT 2
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 18 of 37

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Chicago. IL 60606

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= www lockalord com
LLP

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i yi ¥ y Ashlee M Knuckey

Bak oA Uirect Telephone’ 312-443-0694
Direct Fax 312-896-6694

Attorneys & Counselors aknuckey@tockelord cam

May 3, 2018

VIA PERSONAL DELIVERY

Egan-Jones Ratings Company
c/o Larissa Gao

61 Haverford Station Road
Haverford, Pennsylvania 19041

Re: Arbitration Summons to Testify and Present Documentary Evidence at an
Arbitration Hearing to Egan-Jones Ratings

Dear Ms. Gao:

On May 3, 2018, the Arbitration Panel in Bankers Conseco Life Insurance Company and
Washington National Insurance Company v. Beechwood Re Ltd, pending before the American
Arbitration Association (“AAA”), AAA Case No. 01-16-0004-2510, issued the enclosed
Arbitration Summons to Testify and Present Documentary Evidence at an Arbitration Hearing
directed to you, as a representative of Egan-Jones Ratings Company.

Beechwood now serves this summons upon you.

Please contact us if you have any questions. Thank you for your attention to this matter.

Very truly yours,

“We /

Ashlee M. Knuckey

CC: Patrick Henigan (via email)

Adanta? Austin | Bostan? Chicago : Cancinnail | Gallas | Maniord ; klong ong; Houston | Londen: Los Angeles
Muni Meaiigtown ) New Orleans : New York ! Providence | San Francisco | Stamlord | Washington OC West Paim Beach
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THE ARBITRATION TRIBUNALS OF THE
AMERICAN ARBITRATION ASSOCIATION

In the matter of the Arbitration between )
)
BANKERS CONSECO LIFE INSURANCE ) Case No. 01-16-0004-2510
COMPANY and WASHINGTON )
NATIONAL INSURANCE COMPANY, )
)
Claimants/Counterclaim- ) ARBITRATION SUMMONS TO
Respondents, ) TESTIFY AND PRESENT
} DOCUMENTARY EVIDENCE AT AN
v. ) ARBITRATION HEARING
)
BEECHWOOD RE LIMITED, )
)
Respondent/Counterclaimant, )

TO: Larissa Gao, Egan-Jones Ratings Company, 61 Haverford Station Road,
Haverford, Pennsylvania 19041

By the authority conferred on the Arbitration Panel by Section 7 of the Federal Arbitration
Act (9 U.S.C. § 7), you are hereby SUMMONED to attend as a witness at an arbitration hearing
before one or more of the undersigned arbitrators, to be held on May 30, 2018 at 3 P.M., at the
offices of McElroy, Deutsch, Mulvaney & Carpenter, LLP, 1 Penn Center — Suburban Station, 1617
JFK Boulevard, Suite 1500, Philadelphia, PA 19103, and to bring with you to the hearing the
documents identified in Schedule A annexed to this SUMMONS.

Provided that the SUMMONS has been served upon you in the same manner as is required
of a judicial subpoena under Rule 45 of the Federal Rules of Civil Procedure, then if you shall
refuse or neglect to obey this SUMMONS, upon petition to the United States District Courts for the
Eastern District of Pennsylvania or a competent court in the District of New Jersey or the
Commonwealth of Pennsylvania, the court may compel your attendance or punish you for contempt
in the same manner provided by law for securing the attendance of witnesses or their punishment
for neglect or refusal to attend in the courts of the United States.

You may address questions concerning this SUMMONS to the attorneys identified below.
Any application by you to quash or modify this SUMMONS in whole or in part should be addressed
to the arbitral tribunal in writing, with copies to counsel for the parties, except that a motion upon
the ground that the SUMMONS is unenforceable under Section 7 of the Federal Arbitration Act
may also be addressed to the United States District Court for the Eastern District of Pennsylvania or
a competent court in the District of New Jersey or the Commonwealth of Pennsylvania.

Signed:

On behalf unanimous Panel:
Debra J. Hall, Chair
Susan S. Claflin
Caleb Fowler

Arbitrators
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 20 of 37

Requested by:

Steven T. Whitmer

Julie L. Young

Ashlee M. Knuckey

Alyssa M. Falk

LOCKE LORD LLP

111 South Wacker Drive

Chicago, Illinois 60606

Telephone: (312) 443-1869 (S. Whitmer)
Facsimile: (312) 896-6569 (S. Whitmer)
swhitmer@lockelord.com
jyoung@lockelord.com

aknuckey @lockelord.com
alyssa.falk@lockelord.com

Counsel for Beechwood Re Ltd

Dated: May 3, 2018
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Federal Rule of Civil Procedure 45 (d) and (e)

(d) Protecting a Person Subject to a Subpoena;
Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A
party or attorney responsible for issuing and serving a
subpoena must take reasonable steps to avoid imposing
undue burden or expense on a person subject to the
subpoena, The court for the district where compliance is
required must enforce this duty and impose an appropriate
sanction—which may include lost earnings and reasonable
attorney’s fees—on a party or attorney who fails to comply

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to
produce documents, electronically stored information, or
tangible things, or to permit the inspection of premises, need
not appear in person at the place of production or inspection
unless also commanded to appear for a deposition, hearing,
or trial.

(B) Objections, A person commanded to produce
documents or tangible things or to permit inspection may
serve on the party or attorney designated in the subpoena a
written objection to inspecting, copying, testing, or sampling
any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or
forms requested. The objection must be served before the
earlier of the time specified for compliance or 14 days after
the subpoena is served. If an objection is made, the following
tules apply:

(i) At any time, on notice to the commanded person,
the serving party may move the court for the district where
compliance is required for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the
order, and the order must protect a person who is neither a
party nor a party’s officer from significant expense resulting
from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the
district where compliance is required must quash or
modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the
geographical limits specified in Rule 45(c);

(tii) requires disclosure of privileged or other
protected matter, if no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or
affected by a subpoena, the court for the district where
compliance is required may, on motion, quash or modify
the subpoena if it requires:

(i) disclosing a trade secret or other
confidential research, development, or
commercial information; or

(ii) disclosing an unretained expert's
opinion or information that does not describe
specific occurrences in dispute and results from
the expert’s study that was not requested by a
party.

(C) Specifying Conditions as an Alternative, {n the
circumstances described in Rule 45(d)(3)(B), the court may,
instead of quashing or modifying a subpoena, order
appearance or production under specified conditions if the
serving party:

(i) shows a substantial need for the testimony or
material that cannot be otherwise met without undue hardship;
and

(ii) ensures that the subpoenaed person will be
reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored
Information. These procedures apply to producing
documents or electronically stored information:

(A) Documents. A person responding to a subpoena to
produce documents must produce them as they are kept in the
ordinary course of business or must organize and label them to
correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information
Not Specified. If a subpoena does not specify a form for
producing electronically stored information, the person
responding must produce it in a form or forms in which it is
ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored {nformation Produced in Only
One Form. The person responding need not produce the
same electronically stored information in more than one
form.

(D) fnaccessible Electronically Stored Information. The
person responding need not provide discovery of electronically
stored information from sources that the person identifies as
not reasonably accessible because of undue burden or cost. On
motion to compel discovery or for a protective order, the
person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that
showing is made, the court may nonetheless order discovery
from such sources if the requesting party shows good cause,
considering the limitations of Rule 26(b)(2)(C). The court may
specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) /nformation Withheld. A petson withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that,
without revealing information itself privileged or

protected, will enable the parties to assess the claim

(B) information Produced. If information produced in
response to a subpoena is subject to a claim of privilege or of
protection as trial-preparation material, the person making the
claim may notify any party that received the information of
the claim and the basis for it. After being notified, a party
must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the
information until the claim is resolved; must take reasonable
steps to retrieve the information if the party disclosed it before
being notified; and may promptly present the information
under seal to the court for the district where compliance is
required for a determination of the claim, The person who
produced the information must preserve the information until
the claim is resolved.
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SCHEDULE A

DEFINITIONS

1. The terms “Affiliate” or “Affiliates” mean any person or entity that directly, or
indirectly through one or more intermediaries, controls or is controlled by, or is under common
control with, the first person or entity specified. When the term “Affiliate” is used in these
discovery demands, it includes, in the case of an entity, not only the entity but also that entity’s
present and former agents, employees, representatives, investigators, attorneys, and/or any
individuals acting on that entity’s behalf.

2. The term “Beechwood” refers to Beechwood Re Ltd.

BE The term “BCLIC” means Bankers Conseco Life Insurance Company and any of

its Affiliates.

4. The term “WNIC” means Washington National Insurance Company and any of its
Affiliates.
5. The term “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

6. The term “concerning” means concerning, referring to, relating to, describing,
evidencing, or constituting.

G. The term “Document” is defined to be synonymous in meaning and equal in
scope to the usage of the term “documents or electronically stored information” in Fed. R. Civ.
P. 34(a)(1)(A). A draft or non-identical copy is a separate Document within the meaning of this
term.

8. The term “Duff & Phelps” means Duff & Phelps Corporation, Duff & Phelps,

LLC and any of their Affiliates.
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9. The term “Egan Jones” means Egan-Jones Rating Company and any of its
Affiliates.

10. The term “Eli Global!” means Eli Global LLC, Global Bankers Insurance Group,
and any of their Affiliates.

11. The term “Ernst & Young” means Ernst & Young LLP and any of its Affiliates.

12. The term “Investment” includes, but is not limited to, a transaction involving the
exchange of money, securities, equity, and/or debt, on the one hand, for other money, securities,
equity, and/or debt, on the other hand.

13. The term “KPMG” means KPMG LLP and any of its Affiliates.

14. The term “Lincoln Partners” means Lincoln International LLC, Lincoln Partners
Advisors LLC and any of their Affiliates.

15. The term “Milliman” means Milliman, Inc. and any of its Affiliates.

16. The term “Person” is defined as any natural person or any legal entity, including,
without limitation, any business or governmental entity or association.

17. The term “Platinum” refers to Platinum Partners, L.P. and any of its Affiliates,
including but not limited to Platinum Credit Management, L.P., Platinum Partners Credit
Opportunities Master Fund L.P., Platinum Partners Credit Opportunities Fund (TE) LLC,
Platinum Partners Credit Opportunities Fund LLC, Platinum Partners Credit Opportunity Fund
(BL) LLC, Platinum Partners Credit Opportunities Fund International Ltd, Platinum Partners
Credit Opportunities Fund International (A) Ltd, Platinum Credit Management LLC, Platinum
Credit Holdings LLC, Platinum Liquid Opportunity Management (NY) LLC, Platinum Partners
Liquid Opportunity Fund (USA) L.P., Platinum Liquid Opportunity GP LLC, Platinum Partners

Liquid Opportunity Fund (International) Ltd., Platinum Partners Liquid Opportunity
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Intermediate Fund L.P., Platinum Partners Liquid Opportunity Master Fund L.P., and Platinum
Management (NY) LLC.

18. The term “Reinsurance Agreements” refers to: (1) a certain New York Indemnity
Reinsurance Agreement (along with any exhibits, schedules, and other Documents annexed to it)
by and between Bankers Conseco Life Insurance Company and Beechwood Re Ltd, executed on
or around February 10, 2014; and (2) a certain Indemnity Reinsurance Agreement (along with
the exhibits, schedules, and other Documents annexed to it) by and between Washington
National Insurance Company and Beechwood Re Ltd, executed on or around February 10, 2014.

19. The term “Trust Agreements” means the trust agreements annexed to the
Reinsurance Agreements.

20. The term “Reinsurance Trusts” means the trusts established under the
Reinsurance Agreements and Trust Agreements.

21. The term “Willis Towers Watson” means Willis Towers Watson & Co., Towers
Watson Pennsylvania, Inc., Willis Re Inc., and any of their Affiliates.

22. The term “Wilmington Trust” means Wilmington Trust, National Association and
any of its Affiliates.

2s. The term “40|86 Advisors” means 40|86 Advisors, Inc. and any of its Affiliates.

24. The term “Cornerstone” means Cornerstone Research, Inc and any of its
Affiliates.

25. The term “PwC” means PricewaterhouseCoopers LLP and any of its Affiliates.

26. The term “Fuzion” means Fuzion Analytics, Inc. and any of its Affiliates.

27. The term “LTCG” means Long Term Care Group, Inc. and any of its Affiliates.

28. The terms “You” and “Your” mean Egan Jones.
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INSTRUCTIONS

1. In this subpoena, including the Documents to be Produced and the definitions and
instructions below, the use of the singular form of a word includes the plural and vice versa, and
the use of the word “any” should be construed to also mean “all” and vice versa.

2. This subpoena calls for the production of all Documents and Communications in
Your possession, custody or control. This includes, but is not limited to, all Documents subject
to Your control that are stored in physical locations, or on any electronic device or computer,
including, but not limited to, servers, hard drives, thumb drives, and similar devices, laptops,
tablets, or smartphones, and includes any Documents and Communications stored with cloud
technology which is in Your possession, custody, or control.

8. If You object, in whole or in part, to any category of Documents to be produced
(or any definition or instruction) in this subpoena and do not produce all responsive Documents,
(a) state with specificity all grounds for, and the facts upon which You base, each such objection
and/or refusal to produce, and (b) identify and produce those Documents requested to which You
do not object.

4. Please produce responsive Documents to the extent that You do not claim a
privilege. If You object to any Documents requested on grounds of privilege, please fully set
forth Your claim of privilege in response to this subpoena. For any responsive Documents
withheld, please provide at the date and time set forth in this subpoena a summary conforming to
the requirements of Fed. R. Civ. P. 45(e)(2) that describes the nature of each of the Documents,
Communications or other tangible things not produced or disclosed.

>» Unless otherwise specified, these requests seek Documents for the period January

1, 2012 through the date of this subpoena.
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DOCUMENTS TO BE PRODUCED

1. All Documents requested in the Subpoena requested by Alston & Bird LLP and
Sills Cummis & Gross on behalf of BCLIC and WNIC, and issued by the Panel in this
Arbitration.

2. All Documents and Communications with or concerning BCLIC, including but
not limited to (a) any agreements with BCLIC, including negotiations concerning any actual or
proposed agreements with BCLIC, (b) any draft or final reports, analyses, valuations or ratings
concerning Beechwood, BCLIC or Reinsurance Trust assets or Investments, including any
reports, valuations, ratings or other Documents or Communications prepared by You or that
BCLIC provided to You, (c) all Documents You reviewed, collected or located concerning such
services, (d) all workpapers concerning such services, (e) any financial statements, business
plans, business projections or audits concerning BCLIC, (f) compensation, bonuses, fees, or any
other form of payment You received concerning BCLIC or that BCLIC received concerning the
Reinsurance Agreements, Trust Agreements, Beechwood, BCLIC or WNIC, (g) any Documents
You provided to Beechwood, or (h) any Investments Beechwood made or proposed to make with
assets of the Reinsurance Trusts.

3. All Documents and Communications with or concerning WNIC, including but not
limited to (a) any agreements with WNIC, including negotiations concerning any actual or
proposed agreements with WNIC, (b) any draft or final reports, analyses, valuations or ratings
concerning Beechwood, WNIC or Reinsurance Trust assets or Investments, including any
reports, valuations, ratings or other Documents or Communications prepared by You or that
WNIC provided to You, (c) all Documents You reviewed, collected or located concerning such

services, (d) all workpapers concerning such services, (e) any financial statements, business
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plans, business projections or audits concerning WNIC, (f) compensation, bonuses, fees, or any
other form of payment You received concerning WNIC or that WNIC received concerning the
Reinsurance Agreements, Trust Agreements, Beechwood, BCLIC or WNIC, (g) any Documents
You provided to Beechwood, or (h) any Investments Beechwood made or proposed to make with
assets of the Reinsurance Trusts.

4, All of the following Documents and Communications concerning Beechwood:
(a) any agreements with Beechwood, including negotiations concerning any actual or proposed
agreements with Beechwood; (b) any draft or final reports, analyses, valuations or ratings
concerning Beechwood or Reinsurance Trust assets or Investments, including any reports,
valuations, ratings or other Documents or Communications prepared by You or that Beechwood
provided to You; (c) all Documents You reviewed, collected or located concerning such services;
(d) all workpapers concerning such services; (e) any financial statements, business plans,
business projections or audits concerning Beechwood; (f) compensation, bonuses, fees, or any
other form of payment You received concerning Beechwood or that Beechwood received
concerning the Reinsurance Agreements, Trust Agreements, BCLIC or WNIC; (g) any
Documents You provided to Beechwood; or (h) any Investments Beechwood made or proposed
to make with assets of the Reinsurance Trusts.

5. All Documents and Communications concerning the Reinsurance Agreements,
Trust Agreements, Reinsurance Trusts or any asset or Investment of the Reinsurance Trusts,
including but not limited to (a) any acquisition, deposit, valuation, rating, management,
withdrawal, transfer, disposition or the compliance with law, regulation or any agreement of any
asset or Investment of the Reinsurance Trusts, (b) any Investment of any asset in the Reinsurance

Trusts with Platinum or any Person in which Platinum has or had any ownership interest or
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Investment, (c) any valuation or rating of any asset or Investment in the Reinsurance Trusts by

You, Lincoln Partners, or Duff & Phelps, or (d) any services performed concerning the

Reinsurance Agreements, Trust Agreements, Reinsurance Trusts or any asset or Investment of

the Reinsurance Trusts by You, Milliman, Ernst & Young, KPMG, Willis Towers Watson, Duff

& Phelps, Lincoln Partners, 40|86 Advisors, Cornerstone, PwC, Fuzion, LTCG or Wilmington

Trust.

6. All Documents and Communications concerning all of the Investments under the

Reinsurance Agreements, including but not limited to any calculations, charts, memos or

evaluations concerning:

(a) 96 Wythe Acquisition LLC Mezzanine Loan;

(b) 564 St. Johns Acquisition LLC Land Loan Note;

(c) Agera Energy LLC Senior Secured Note & Line of Credit;

(d) Any membership interests in AGH Parent LLC, including but not limited
to Secured Indebtedness, Common Units, Incentive Units and/or Class A,
B-1, B-2 and/or C Preferred Units;

(e) Agera Holdings, LLC Common Units and/or any derivative therein;

(f) ALS Capital Ventures LLC Senior Secured Loan;

(g) Golden Gate Oil Senior Secured Loan;

(h) Implant Sciences Corporation Senior Secured Loan;

(i) Milberg LLP Senior Secured Loan;

Gj) Pedevco Corp. Senior Secured Loan;

(k) PPMF 2016 Secured Term Note; or

(1) Viveros Group BVI Revolver.

0. All Documents and Communications involving or concerning Edward Bonach,

Rich Burke, Thomas Kleyle, Eric Johnson, Fred Crawford, Timothy Bischoff, Jeremy Williams,

-7-
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 29 of 37

Mark Billingsley, Christopher Foote, Bill Fritts, Ron Jackson, Michael Khalil, Paul Podgorny or

Matt Zimpfer.
8. All Documents and Communications between or among You and Platinum.
9. All Documents and Communications concerning any subpoena from or inquiry,

investigation, examination, action or audit of any government agency, regulator, or entity,
including but not limited to (a) the United States Securities and Exchange Commission, (b) the
United States Department of Justice, (c) the New York State Department of Financial Services,
(d) the Indiana Department of Insurance, (e) the Cayman Islands Monetary Authority, or (f) the
Bermuda Monetary Authority, concerning Platinum, BCLIC, WNIC or Beechwood, including
but not limited to any Documents or Communications You produced to, and any agreement,
including search terms, You made or negotiated with, any government agency, regulator or

entity.
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 30 of 37

EXHIBIT 3
O.L.S., fre.

401 Broadway

Ste. 510

New Yark, N¥ 10013
212.925.1220

www, disnational cam

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EXHIBIT
My 40, 2018

THE ARBITRATION TRIBUNALS OF THE
AMERICAN ARBITRATION ASSOCIATION

~ wanes
In the Matter of the Arbitration between

BANKERS CONSECO LIFE INSURANCE
COMPANY AND WASHINGTON Case No. 01-16-0004-25 10
NATIONAL INSURANCL COMPANY,

Claimants/Counterclafin-
Respondents, AFEIDAVIT OF SERVICE

-Aagainst-
BEBCHWOOD RE LIMITED,

SEE eng pal gretelsai

5ST TATE OF  PENNSYL VANIA )
5.8.

COUNTY OF PIILDELPHIA — )

TIMOTHY WELDON, being duly sworn, depases and says that be is over the age of
vighteen years, is an agent of the attorney service, DLS, INC., and is not a party of this action.

That on the 3" day ol May, 2018, at approximately the time of 1:59 pm, deponent served
a true copy of the ARBITRATION SUMMONS TO TESTIFY AND PRESENT DOCUMENTARY
EVIDENCE AT AN ARBITRATION HEARING upon LARISSA GAO at Egan-lones Rating
Company, 6t Haverford Station Road, Haverford, PA 19041 by personally delivering aud leaving: the
same wilt LARISSA GAO at that address. Al that time a witness fee in the amount of $54.04 was
tendered.

LARISSA GAO is a tan (Asian) female, approximately 42. years of age, stands

approxiinately 5 feet 3 inches tall, and weighs approximately 120 pounds with brown hair,

Swoop lo befare me this
“tf _ Wy of May, 2018

NOUR ay UBL. qc

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EXHIBIT 4
Case 2:18-mc-00166-JS Document1 Filed 08/15/18 Page 33 of 37

pe Pr cess f Serve oof .

load
Defendanl/Respondent Case#

Being duly swom, on my oath, | e oe e @ T (6 A SS ( 6 (2

declare that | am a citizen of the United oo over the age of eighteen and not a party.to this action.
Ae

Plaintiff/Petitioner

—Ladsse Cio

Godal A

Service: | served

NAME OF PERSON/ENSITY BEING SERV

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by serving (NAME)

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From (CITY) (STATE)

Manner of Service:
co By Personal Service
By delivering, during office hours, copies at the office of the person/entity being served, leaving same with the person
apparently in charge thereof, Ta,

WENOY §

By leaving a copy at the defendant's ma ae of abode, with some pers6w of the family or a person

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a
residing there, of the age of 13 years or upwards, and informing that person of the general nature of the papers
a By posting copies in a conspicuous manner to the address of the personr/entity being served.
Non-Service: After due search, careful inquiry arid diligent attempts at the address(es) listed above, | have been
unable ta effect process upon the person/entity being served because of the following reason(s):
a Unknown at Address "Evading Cc Other,
a Address does not exist G Service cancelled by litigant
a Moved, Left no forwarding a Unable to serve in a timely fashion
Service Attempts: Service was attempted on: (_) t) iC)
DATE TIME DATE TIME DATE = TIME
(_) Xt) {) it}
DATE TIME DATE TIME DATE TIME DATE TIME
Description: o Male a White Skin Black Hair o White Hair 0 14-20 Yrs. o Under 5' o Under 100.Lbs.
xfemale a Black Skin a Brown Hair o Balding 0 21-35 Yrs. -§'3" oo 30 Lbs.
a Brown Skin —o Blond Hair 6-50 Yrs. o §°4"-5'8" 131-160 Lbs.
a Glasses aon Skin a Gray Hair = oMustache “9 51-65 Yrs, 0 5'9"-6" a 161-200 Lbs.
ed Skin g Red Hair p Beard o Over Over 200 Lbs.

a Over 65

OTHER IDENTIFYING FEATURES:

RA

State ofBlinvis: County of Gok PHL LA QELPH(A-

Subscribed and swom to before me
A notary public, this =} day of

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AY
OML!

20 4

LASALLE
ILLINOIS PRIVATE DETECTIVE LICENSE# 117-001432

Notary Public

CHARTER MEMBER NATIONAL ASSOCIATION OF PROFESSIONAL PROCESS SERVERS

COMMONWEALTH OF PENNSYLVANIA

NOTARIAL SEAL
MICHAEL D. TALONE, Notary Publie
City of Philadetphia, Phila. County
My Commission Expires May 12, 2019

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EXHIBIT 5
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In the Matter of the Arbitration Between

BANKERS CONSECO LIFE INSURANCE
COMPANY and WASHINGTON NATIONAL

)

)

INSURANCE COMPANY, )
)
Claimants/Counterclaim Respondents, )

)

v. ) AAA Case No. 01-16-0004-2510

)

BEECHWOOD RE LIMITED, )
)
)

Respondent/Counterclaimant.

ORDER ON PARTIES’ ARBITRATION
SUMMONSES TO LARISSA GAO OF EGAN-JONES RATINGS COMPANY

On May 30, 2018 at 3:00 p.m., the full Panel of Arbitrators convened an arbitration
hearing at the offices of McElroy, Deutsch, Mulvaney & Carpenter, LLP, in Philadelphia,
Pennsylvania (the “May 30 Hearing”). At the May 30 Hearing, the Panel addressed the
Arbitration Summonses requested by Claimants Bankers Conseco Life Insurance Company and
Washington National Insurance Company’s (collectively, “Claimants”) and Respondent
Beechwood Re Ltd’s (“Beechwood”) (collectively, the “Parties”) that were issued to and served
upon Larissa Gao of Egan-Jones Ratings Company (“Egan-Jones”), requiring Ms. Gao to attend
as a witness at the May 30 Hearing to provide testimony and to bring with her the documents
identified in the Schedule As annexed to each of the Parties’ Arbitration Summonses.

THE PANEL HEREBY FINDS:

l. On May 3, 2018, this Panel executed and issued Claimant’s and Beechwood’s
Arbitration Summonses, entered at the hearing as Exhibits 1 and 4, requesting the appearance of
Larissa Gao of Egan-Jones at 61 Haverford Station Road, Haverford, Pennsylvania 19041, to

attend as a witness at the May 30 Hearing, located within twenty miles of Egan-Jones’ address,
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to provide testimony and to bring with her the documents identified in the Scheduled As annexed
to each of the Parties’ Arbitration Summonses.

2. On May 3, 2018, Claimant personally served its Arbitration Summons upon
Larissa Gao of Egan-Jones at 61 Haverford Station Road, Haverford, Pennsylvania
19041. (Exhibit 2.)

a On May 4, 2018, Beechwood personally served its Arbitration Summons upon
Larissa Gao of Egan-Jones at 61 Haverford Station Road, Haverford, Pennsylvania
19041. (Exhibit 5.)

4. On May 30, 2018, the Parties and the full Panel of Arbitrators convened at the
offices of McElroy, Deutsch, Mulvaney & Carpenter, LLP located at 1 Penn Center — Suburban
Station, 1617 JFK Boulevard, Suite 1500, Philadelphia, Pennsylvania for the May 30 Hearing in
order to take the testimony of Larissa Gao and obtain her documentary evidence in accordance
with the Parties’ Arbitration Summonses.

5. Larissa Gao of Egan-Jones failed to appear at the May 30 Hearing.

6. No representative of Egan-Jones appeared at the May 30 Hearing.

7. The Panel and the Parties were prepared to receive testimony and documentary
evidence from Egan-Jones pursuant to the Parties’ Arbitration Summonses, and the Panel was
prepared to rule on evidentiary issues.

8. In addition, the Parties hired a court reporter to record the May 30 Hearing so that
the May 30 Hearing would become part of the arbitration record for the Panel to use in its

ultimate determination of this dispute.
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9. Egan-Jones was provided with sufficient notice in anticipation of the May 30
Hearing, as evidenced by the Affidavits of the Process Servers entered at the hearing as Exhibits
2 and 5,

10... The Panel unanimously affirms that the Arbitration Summonses should be
enforced by a Court of appropriate jurisdiction.

THE PANEL HEREBY ORDERS:
The Parties shall have leave to pursue judicial intervention to obtain Egan-Jones Ratings
Company’s compliance with Claimant’s Arbitration Summons and Beechwood’s Arbitration

Summons.

Ordered this 22™ day of June 2018.

Debra J. Hall, Chair
Susan S. Claflin
Caleb Fowler

Prepared By:
Steven T. Whitmer

Julie L. Young

Ashlee M. Knuckey

Alyssa M. Falk

LOCKE LORD LLP

111 South Wacker Drive

Chicago, Illinois 60606

Telephone: (312) 443-1869 (S. Whitmer)
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